           Case 2:15-cr-00134-TLN Document 24 Filed 01/29/16 Page 1 of 3


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    NOA E. OREN, #297100
     Assistant Federal Defender
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700/Facsimile: (916) 498-5710
5    Noa_Oren@fd.org
6    Attorney for Defendant
     DION LAROY JOHNSON, II
7
8                           IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                   Case No. 2:15-cr-134 GEB
                                             )
11                   Plaintiff,              )
                                             )   AMENDED STIPULATION AND
12            v.                             )   [PROPOSED] ORDER TO CONTINUE
                                             )   STATUS CONFERENCE AND TO
13   WEBB et al,                             )   EXCLUDE TIME
                                             )
14                   Defendants.             )   Date: January 29, 2016
                                             )   Time: 9:00 a.m.
15                                           )   Judge: Garland E. Burrell
16
17            IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S.
18   Attorney, through Justin Lee, Assistant United States Attorney, attorney for
19   Plaintiff, and Heather Williams, Federal Defender, through Assistant Federal
20   Defender, Noa E. Oren, attorney for Dion Laroy Johnson II, and defendant,
21   London Jamal Webb, by and through his counsel, William E. Bonham that the
22   status conference set January 29, 2016, be continued to March 11, 2016 at 9:00
23   a.m.
24            The reason for this continuance is to allow defense counsel additional time
25   to review discovery with the defendants, to examine possible defenses and to
26   continue investigating the facts of the case.
27   ///
28

     S[[
      Stipulation and [Proposed] Order           -1-              U.S. v. Webb et al, 15-cr-134 GEB
       Case 2:15-cr-00134-TLN Document 24 Filed 01/29/16 Page 2 of 3


1            Based upon the foregoing, the parties agree time under the Speedy Trial Act
2    should be excluded of this order’s date through and including March 11, 2016;
3    pursuant to 18 U.S.C. §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and
4    General Order 479, Local Code T4 based upon continuity of counsel and defense
5    preparation.
6            Counsel and the defendants also agree that the ends of justice served by the
7    Court granting this continuance outweigh the best interests of the public and the
8    defendants in a speedy trial.
9                                            Respectfully submitted,
10   DATED: January 28, 2016                 HEATHER E. WILLIAMS
11                                           Federal Defender

12                                           /s/ Noa E. Oren
13                                           NOA E. OREN
                                             Assistant Federal Defender
14                                           Attorney for Defendant
15                                           DION LAROY JOHNSON, II
16   DATED: January 28, 2016                 /s/ William E. Bonham
17                                           WILLIAM E. BONHAM
                                             Attorney for Defendant
18                                           LONDON JAMAL WEBB
19
20   DATED: January 28, 2016                 BENJAMIN B. WAGNER
21                                           United States Attorney
22
                                             /s/ Justin Lee
23                                           JUSTIN LEE
                                             Assistant U.S. Attorney
24
                                             Attorney for Plaintiff
25
26
27
28

     S[[
      Stipulation and [Proposed] Order         -2-               U.S. v. Webb et al, 15-cr-134 GEB
       Case 2:15-cr-00134-TLN Document 24 Filed 01/29/16 Page 3 of 3


1                                          ORDER
2
             The Court, having received, read, and considered the stipulation of the
3
     parties, and good cause appearing, adopts the stipulation in its entirety as its order.
4
     The Court specifically finds that the failure to grant a continuance in this case
5
     would deny defense counsel reasonable time necessary for effective preparation,
6
     taking into account the exercise of due diligence. The Court finds that the ends of
7
     justice served by granting the continuance outweigh the best interests of the public
8
     and defendants in a speedy trial.
9
             The Court orders the status conference rescheduled for March 11, 2016, at
10
     9:00 a.m. The Court orders the time from the date of the parties stipulation, up to
11
     and including March 11, 2016, excluded from computation of time within which
12
     the trial of this case must commence under the Speedy Trial Act, pursuant to 18
13
     U.S.C. §§3161(h)(7), and Local Code T4.
14
     Dated: January 28, 2016
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     S[[
      Stipulation and [Proposed] Order         -3-                U.S. v. Webb et al, 15-cr-134 GEB
